         Case 1:99-cr-10371-DJC Document 935 Filed 05/23/13 Page 1 of 6



                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
              v.                              )       Crim. No. 99-10371-DJC
                                              )
JAMES J. BULGER,                              )
                                              )
              Defendant.                      )
                                              )

    GOVERNMENT’S MOTION IN LIMINE TO ADMIT STATEMENTS MADE TO LAW
         ENFORCEMENT BY BULGER’S VICTIMS BEFORE THEIR DEATHS

        The   United      States         of       America,    by     and        through     the

undersigned        Assistant         U.S.     Attorneys,     hereby     moves      to     admit

statements         made   to     law     enforcement         officials      by     three    of

Bulger’s 19 murder victims:                       (a) Richard Castucci; (b) Brian

Halloran; and (c) John McIntyre. 1                     Each of these victims had

previously provided information to law enforcement authorities

regarding      Bulger,         his     co-conspirators,        and    others.             These

cooperator relationships, and the suspicions by Bulger and his

co-conspirators of these relationships, provided the motive for

their    homicides,       as    the     government’s         evidence      at    trial     will

establish.          Because      the        government     will    provide        sufficient

foundational information to authenticate each of the statements,




1
     The statements that the government intends to elicit are
contained:    (a) with respect to Richard Castucci, within
Exhibits 208-215; (b) with respect to Brian Halloran, within
Exhibits 264-268 and 270-283; and (c) with respect to John
McIntyre, within Exhibits 475-483 and 488.
                                                  1
         Case 1:99-cr-10371-DJC Document 935 Filed 05/23/13 Page 2 of 6



the statements are admissible under Fed. R. Evid. 804(b)(6) and

United States v. Houlihan, 92 F.3d 1271, 1283 (1st Cir. 1996).

  I.      ARGUMENT

       Fed.    R.    Evid.        804(b)(6)         includes       among     the     hearsay

exceptions:

       (6) Statement Offered Against a Party That Wrongfully
        Caused the Declarant’s Unavailability.    A statement
        offered against a party that wrongfully caused – or
        acquiesced in wrongfully causing – the declarant’s
        unavailability as a witness, and did so intending the
        result.

       “[C]ourts will not suffer a party to profit by his own

wrongdoing.          Thus,      a    defendant        who       wrongfully     procures    a

witness’s absence for the purpose of denying the government that

witness’s      testimony     waives       his      right    under      the   Confrontation

Clause    to    object     to       the   admission        of    the   absent      witness’s

hearsay statements.”            Houlihan, 92 F.3d at 1283 (1st Cir. 1996)

(“By     murdering       Sargent,         Houlihan        and     Nardone     denied      the

prosecution the benefit of his live testimony.                               To compensate

for that denial the court allowed the government to introduce

portions of the interviews that Sargent gave to the police.”).

In Houlihan, the First Circuit further held that, “when a person

who eventually emerges as a defendant (1) causes a potential

witness’s unavailability (2) by a wrongful act (3) undertaken

with   the     intention     of      preventing       the       potential    witness     from

testifying      at   a   future       trial,       then    the    defendant     waives    his


                                               2
        Case 1:99-cr-10371-DJC Document 935 Filed 05/23/13 Page 3 of 6



right to object on confrontation grounds to the admission of the

unavailable declarant’s out-of-court statements at trial.”                           Id.

at 1280.

      The    government        must    satisfy      the     foregoing         conditions

precedent for admissibility by a preponderance of the evidence.

Id.     In Houlihan, the First Circuit also found that defendants’

“misconduct waived not only their confrontation rights but also

their     hearsay   objections.”             Id.    at     1281.            Consequently,

Houlihan established           that,   in       appropriate        circumstances,      a

defendant’s wrongful elimination of a witness will constitute

waivers of defendant’s right to object on the bases of both the

Confrontation Clause of the Sixth Amendment and hearsay.                              See

also United States v. Rouco, 765 F.2d 983, 995 (11th Cir. 1985)

(“In this case, Rouco waived his right to cross-examine Benitez

by killing him.      The Sixth Amendment does not stand as a shield

to protect the accused from his own misconduct or chicanery.”)

(citations and quotations omitted).

      The Supreme Court’s decision in Crawford did not create a

confrontation clause issue under Houlihan: as the Crawford court

itself noted, “the rule of forfeiture by wrongdoing (which we

accept)     extinguishes         confrontation           claims        on    essentially

equitable    grounds;     it    does   not      purport    to     be    an   alternative

means of determining reliability.” Crawford v. Washington, 541

U.S. 36, 62 (2004).

                                            3
        Case 1:99-cr-10371-DJC Document 935 Filed 05/23/13 Page 4 of 6



      Further, “it is sufficient in this regard to show that the

evildoer        was    motivated       in    part    by   a    desire       to     silence       the

witness; the intent to deprive the prosecution of testimony need

not be the actor’s sole motivation.”                          Id. at 1279 (emphasis in

original).            See also United States v. Thompson, 286 F.3d 950,

965 (7th Cir. 2002) (“In sum, a defendant who joins a conspiracy

risks many things – e.g., the admission of his coconspirator’s

statements at trial under Federal Rule of Evidence 801(d)(2)(E),

the potential conviction for substantive offenses committed in

furtherance           of    the    conspiracy,       and       the     inclusion          of    his

coconspirator’s acts in the computation of his relevant conduct

at sentencing.             We see no reason why imputed waiver should not

be one of these risks, particularly when the waiver results from

misconduct designed to benefit the conspiracy’s members.”)

      As        the    government       will     establish       at        trial,    Castucci,

Halloran, and McIntyre were made unavailable by wrongful acts

taken      by    Bulger      and    his      co-conspirators.               Bulger    and        his

criminal enterprise co-conspirators murdered each of these three

men     with      an       intention        of   preventing          the     use     of        their

incriminating testimony against Bulger and the enterprise during

a   criminal          prosecution.          Accordingly,        once       the   government’s

evidence at trial establishes (by a preponderance) that Bulger

was involved in the murders of Castucci, Halloran, and McIntyre,

and that his motivation was, at least in part, a desire to

                                                 4
        Case 1:99-cr-10371-DJC Document 935 Filed 05/23/13 Page 5 of 6



silence the victims, the statements made to law enforcement by

Castucci, Halloran, and McIntyre prior to their murders should

be admitted.

  II.    CONCLUSION

     Based     on   the    foregoing,     the   government     respectfully

requests that this Court allow this motion.



                                          Respectfully submitted,

                                          CARMEN M. ORTIZ
                                          United States Attorney

Dated: May 23, 2013           By:         /s/ Zachary R. Hafer____
                                          ZACHARY R. HAFER
                                          BRIAN T. KELLY
                                          FRED M. WYSHAK, JR.
                                          Assistant U.S. Attorneys




                                      5
      Case 1:99-cr-10371-DJC Document 935 Filed 05/23/13 Page 6 of 6



                        CERTIFICATE OF SERVICE

     I hereby certify that this document filed through the ECF
system   will   be  sent   electronically   to  the   registered
participants as identified on the Notice of Electronic Filing on
May 23, 2013.

                                        /s/ Zachary R. Hafer___
                                        ZACHARY R. HAFER
                                        Assistant U.S. Attorney


Dated: May 23, 2013




                                    6
